            Case 3:20-cv-06145-RJB Document 155 Filed 02/09/23 Page 1 of 2




                                                                The Honorable Robert J. Bryan
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT TACOMA
 9   C.P., by and through his parents, Patricia     NO. 3:20-cv-06145-RJB
     Pritchard and Nolle Pritchard; and
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     PATRICIA PRITCHARD,                            DECLARATION OF PATRICIA
11                                                  PRITCHARD IN SUPPORT OF
                          Plaintiffs,               PLAINTIFFS’ MOTION FOR CLASSWIDE
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            v.                                      DECLARATORY AND PERMANENT
13
                                                    INJUNCTIVE RELIEF, AND AWARD OF
     BLUE CROSS BLUE SHIELD OF                      INDIVIDUAL NOMINAL DAMAGES TO
14   ILLINOIS,                                      NAMED PLAINTIFFS
15                        Defendant.                Note on Motion Calendar:
16                                                  March 3, 2023

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            I, Patricia Pritchard, declare under penalty of perjury and in accordance with the

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     laws of the State of Washington and the United States that:

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            1.     I am over the age of 18 and competent to testify to all matters stated herein.

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     All statements are made upon my personal knowledge.

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            2.     I am the mother of C.P., the named plaintiff in the above captioned

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     litigation. He receives coverage of health benefits through the Catholic Health Initiatives

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     Medical Plan as administered by Blue Cross Blue Shield of Illinois (“BCBSIL”) due to my

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     employment. C.P. received that health coverage for all times relevant to this litigation.

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            3.     In the near future, C.P. intends to seek additional surgical gender-affirming

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     care as recommended by his medical providers including but not limited to a

                                                                         SIRIANNI YOUTZ
     DECLARATION OF PATRICIA PRITCHARD – 1                         SPOONEMORE HAMBURGER PLLC
     [Case No. 3:20-cv-06145-RJB]]                                     3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
              Case 3:20-cv-06145-RJB Document 155 Filed 02/09/23 Page 2 of 2




     hysterectomy.          BCBSIL's continued administration of the gender affirming care
 2   exclusion for Catholic Health Initiatives will result in a discrimination against C.P. and
 3   others unless it is permanently enjoined.
 4            4.       I paid for $12,122.50 in uncovered claims for C.P.'s chest surgery and
 5   V antas implant as a result of BCBSIL's administration of the Exclusion. Those are the
 6   compensatory damages I seek in this litigation.
 7            5.       C.P.'s pre-service authorization was denied by BCBSIL based upon its
 a   administration of the Exclusion. We appealed the pre-service denial, and that appeal
 9   was also denied. A true and correct copy of the appeal of the pre-service denial was filed
1o   at Dkt. No. 38-13 (redacted to protect C.P.' s identity), and a true and correct copy of
1t   BCBSIL's denial of the appeal was filed at Dkt No. 38-14 (similarly redacted).
12            6.       I did not submit all of C.P.'s post-surgery claims for his chest surgery to
13   BCBSIL because it would have been futile to do so. Nonetheless, some or all of the claims
14   may have been submitted by C.P.'s provider.
15            DATED this _f_ day of February, 2023, at Bremerton, Washington.
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                                                                 Patricia Pritchard
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                                                                             SIRIANNlYOUTZ
     DECLARATION OF PATRIOA PRITGIARD- 2                             SPOONEMORE HAMBURGER PI.LC
     [Case No. 3:20-<:v--06145-RJB]]                                   3101 Wel'IDN A VENUE, 5Urrn 350
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